              Case 2:10-cr-00223-JAM Document 600 Filed 07/07/14 Page 1 of 2
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 2
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 7   Attorney for Defendant
     CONNIE DEVERS
 8

 9                        IN THE UNITED STATES DISTRICT COURT FOR THE
10                              EASTERN DISTRICT OF CALIFORNIA
11

12   UNITED STATES OF AMERICA,                      )       No. CR-S-10-0223 JAM
                                                    )
13                                                  )       STIPULATION AND
            Plaintiff,                              )       ORDER CONTINUING STATUS
14                                                  )       COMPETENCY HEARING
     v.                                             )
15                                                  )
                                                    )       Date: 8/5/2014
     CONNIE DEVERS.                                 )       Time: 9:30 a.m.
16
                                                    )
17          Defendant.                              )       Judge: Honorable John A. Mendez
                                                    )
18                                                  )

19
                                                    )

20
            IT IS HEREBY STIPULATED by and between the parties hereto through their
21
     respective counsel, PHIL FERRARI, Assistant United States Attorney, attorney for Plaintiff, and
22
     MARK J. REICHEL, Esq., attorney for defendant, that the present date for the competency
23
     hearing be re calendared for August 5, 2014 at 9:30 a.m. Dr. Greene, appointed by this court to
24
     examine the defendant, will be seeing Ms. Devers on July 11, 2014, after the presently scheduled
25
     status conference.
26
             Accordingly, all counsel and defendant agree that time under the Speedy Trial Act from
27
     the date this stipulation is lodged, through August 5, 2014 should be excluded in computing the
28
     time within which trial must commence under the Speedy Trial Act, pursuant to Title 18 U.S.C.
     § 3161 (H)(7)(B)(iv) and Local Code T4.



                                                        1
              Case 2:10-cr-00223-JAM Document 600 Filed 07/07/14 Page 2 of 2
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 2
            It is so stipulated.
 3

 4   Dated: July 3, 2014                                   MARK J. REICHEL, ESQ.

 5
                                                                  /s/ Mark J. Reichel
 6
                                                                  Attorney for Defendant
 7
                                                                  CONNIE DEVERS
 8

 9
     Dated: July 3, 2014                                   U.S. ATTORNEY’S OFFICE
10

11
                                                                  /s/ Mark J. Reichel, for
12
                                                                  PHIL FERRARI
13
                                                                  Assistant U.S. Attorney
14
                                                                  Attorney for Plaintiff
15
                    ORDER
16
             IT IS SO ORDERED. For the reasons set forth above, the court finds that there is
17
     GOOD CAUSE for the continuance and the exclusion of time, and that the ends of justice served
18
     by this continuance outweigh the best interests of the public and the defendant in a speedy trial.
19
     Time is excluded pursuant to 18 U.S.C. Section 3161(h)(7)(B)(iv) and Local Code T4.
20

21   DATED: July 3, 2014.
22

23
     IT IS SO ORDERED.

24   Dated: July 3, 2014                                   /s/ John A. Mendez
                                                           HON. JOHN A. MENDEZ
25                                                         United States District Court Judge
26

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